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UNITED STATES DISTRICT COURT
FOR TI'IE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA
U.S. Department of Justice
Antitrust Division

450 Fifth Street NW, Suite 8?`00
Washington, D.C. 20530,

Pla:'ntz'jj;
v.
KNORR-BREMSE AG
Moosacher Str. 80
80809 Miinchen
Germany,
and
WESTINGHOUSE AIR BRAKE

TECHNOLOGIES CORPORATION
1001 Airbrake Avenue
Wilmcrding, PA 15148,

Defendants.

 

 

COMPLAINT
The United States of America, acting under the direction of the Attorney General of the
Unitcd States, brings this civil antitrust action to obtain equitable relief against Defendants
Knorr-Bremse AG and Westinghouse Air Brake Technologies Corporation. The United States

alleges as follows:

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I. INTRODUCTION

l. This action challenges under Section 1 of the Sherman Act, 15 U.S.C. § I, a series
of unlawful agreements between three of the world’s largest rail equipment suppliers to restrain
competition in the labor markets in Which they compete for employees

2. Defendants Knorr-Bremse AG (“Knorr”) and Westinghouse Air Bral<e
Technologies Corporation (“Wabtec”) are each other’s top competitors for rail equipment used in
freight and passenger rail applications They also compete With each other to attract, hire, and
retain various skilled employees, including rail industry project managers, engineers sales
executives, business unit heads, and corporate officers Prior to its acquisition by Wabtec in
November 2016, Faiveley Transport S.A. (“Faiveley”) also competed with Knorr and Wabtec to
attract, hire, and retain employees

3. The unlawful agreements between Knorr, Wabtec, and Faiveley included
promises and commitments not to solicit, recruit, hire without prior approval, or otherwise
compete for employees (collectively, “no-poach agreements”). The no-poach agreements were
not reasonably necessary to any separate, legitimate business transaction or collaboration
between the companies They spanned several years and were monitored and enforced by high-
level company executives, and had the effect of unlawfully allocating employees between the
companies, resulting in harm to U.S. workers and consumers

4. Beginning no later than 2009, senior executives at Knorr and Wabtec, including
executives at several of their U.S. subsidiaries, entered into no-poach agreements with one
another. Beginning no later than 2011, senior executives at certain U.S. subsidiaries of Knorr

and Faiveley entered into a no-poach agreement with one another. And beginning no later than

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January 2014, senior executives at the U.S. passenger rail businesses of Wabtec and Faiveley
entered into a no-poach agreement with one another.

5. By entering into no-poach agreements, Knorr, Wabtec, and Faiveley substantially
reduced competition for employees to the detriment of workers in this important U.S. industry.
These no-poach agreements denied Arnerican rail industry workers access to better job
opportunities restricted their mobility, and deprived them of competitively significant
information that they could have used to negotiate for better terms of employment Moreover,
these no-poach agreements disrupted the efficient allocation of labor that comes from Knorr,
Wabtec, and Faiveley competing for rail industry employees

6. Defendants’ no-poach agreements are per se unlawful restraints of trade that
violate Section l of the Sherman Act, 15 U.S.C. § l. The United States seeks an order
prohibiting such agreements and other relief.

II. JURISDICTION AND VENUE

7. Defendants Knorr and Wabtec develop, manufacture, and sell rail equipment into
the United States. In furtherance of each Defendant’s U.S. business activities, Knorr and Wabtec
recruit and hire skilled employees in the United States. Such activities, including the employee
recruiting and hiring activities that are the subject of this Complaint, are in the flow of and
substantially affect interstate commerce. The Court has subject matter jurisdiction under Section
4 ofthe Sherman Act, 15 U.S.C. § 4, and under 28 U.S.C. §§ 1331 and 1337, to prevent and
restrain Defendants from violating Section 1 of the Sherman Act, 15 U.S.C. § 1.

8. Defendants have consented to venue and personal jurisdiction in this district.
Venue is proper in this district under Section 12 of the Clayton Aet, 15 U.S.C. § 22, and 28

U.s.C. § 1391.

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III. DEFENDANTS

9. Defendant Knorr is a privately-owed German company with its headquarters in
Munich, Germany. Knorr is a global leader in the development, manufacture, and sale of rail
and commercial vehicle equipment In 2017, Knorr had annual revenues of approximately $7.7
billion.

10. Knorr holds several wholly-owned subsidiaries in the United States. Knorr Brake
Company is a Delaware corporation with its headquarters in Westrninster, Maryland. It
manufactures train control, braking, and door equipment used on passenger rail vehicles New
York Air Brake Corporation is a Delaware corporation with its headquarters in Watertown, New
York. lt manufactures railway air brakes and other rail equipment used on freight trains Knorr
Brake Company and New York Air Brake Corporation are wholly-owned subsidiaries of Knorr.

l 1. Defendant Wabtec is a Delaware corporation headquartered in Wilmerding,
Pennsylvania. With over 100 subsidiaries, Wabtec is the world’s largest provider of rail
equipment and services with global sales cf $3.9 billion in 2017. It is an industry leader in the
freight and passenger rail segments of the rail industry. Wabtec Passenger Transit is a business
unit of Wabtec that develops, manufactures and sells rail equipment and services for passenger
rail applications lt is based in Spartanburg, South Carolina.

12. On November 30, 2016, Wabtec acquired Faiveley, which had been a French
societe anonyme based in Gennevilliers, France. Before the acquisition, Faiveley was the
world’s third-largest rail equipment supplier behind Wabtec and Knorr. Faiveley had employees
in 24 countries, including at six U.S. locations It developed, manufactured, and sold passenger
and freight rail equipment to customers in Europe, Asia, and North America, including the

United States, with revenues of approximately €l.2 billion in 2016. In the United States,

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Faiveley conducted business primarily through Faiveley Transport North America, a wholly-
owned subsidiary of Faiveley and a New York corporation headquartered in Greenville, South
Carolina. Certain Faiveley recruiting activities conducted prior to its acquisition by Wabtec are
at issue in this Complaint.
IV. TRADE AND COMMERCE

13. Knorr and Wabtec (which now includes Faiveley) are the world’s largest rail
equipment suppliers and each other’s top rival in the development, manufacture, and sale of
equipment used in freight and passenger rail applications

14. Defendants also compete with one another and with firms at other tiers of the rail
industry supply chain to attract, hire, and retain skilled employees by offering attractive salaries,
benefits, training, advancement opportunities, and other favorable terms of employment

15. There is high demand for and limited supply of skilled employees who have rail
industry experience As a result, firms in the rail industry can experience vacancies of critical
roles for months while they try to recruit and hire an individual with the requisite skills, training,
and experience for a job opening. Employees of other rail industry participants including the
employees of Defendants’ customers competitors and suppliers, are key sources of potential
talent to fill these openings

16. Firms in the rail industry employ a variety of recruiting techniques, including
using internal and external recruiters to identify, solicit, recruit, and otherwise help hire potential
employees Rail companies also receive direct applications from individuals interested in
potential employment opportunities Directly soliciting employees from another rail industry
participant is a particularly efficient and effective method of competing for qualified employees

Soliciting involves communicating directly_whether by phone, e-rnail, social and electronic

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networking, or in person_with another firm’s employee who has not otherwise applied for a job
opening Such direct solicitation can be performed by individuals of the company seeking to fill
the position or by outside recruiters retained to identify potential employees on the company’s
behalf Firms in the rail industry rely on direct solicitation of employees of other rail companies
because those individuals have the specialized skills necessary and may be unresponsive to other
methods of recruiting. In addition, the rail industry is an insular one in which employees at
different firms form long-term relationships and often look to their professional networks to till a
vacancy.

17. ln a competitive labor market, rail industry employers compete with one another
to attract highly-skilled talent for their employment needs This competition benefits employees
because it increases the available job opportunities that employees learn about. lt also improves
an employee’s ability to negotiate for a better salary and other terms of employment
Defendants’ no-poach agreements however, restrained competition for employees and disrupted
the normal bargaining and price»setting mechanisms that apply in the labor market.

V. THE UNLAWFUL AGREEMENTS

18. Over a period spanning several years Wabtec, Knorr, and Faiveley entered into
similar no~poach agreements with one another to eliminate competition between them for
employees These agreements were executed and enforced by senior company executives and
reached several of the companies’ U.S. subsidiaries The no-poach agreements were not
reasonably necessary to any separate, legitimate business transaction or collaboration between

the companies

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A. _\_N__z_z_btec - Knorr Agreements

19. Wabtec and Knorr entered into pervasive no-poach agreements that spanned
multiple business units and jurisdictions Senior executives at the companies’ global
headquarters and their respective U.S. passenger and freight rail businesses entered into no-
poach agreements that involved promises and commitments not to solicit or hire one another’s
employees These no-poach agreements primarily affected recruiting for project management,
engineering, sales and corporate officer roles and restricted each company from soliciting
current employees from the other’s company. At times these agreements were operationalized
as agreements not to hire current employees from one another without prior approval.

20. Beginning no later than 2009, Wabtec’s and Knorr Brake Company’s most senior
executives entered into an express no-poach agreement and then actively managed it with each
other through direct communications For example, in a letter dated January 28, 2009, a director
of Knorr Brake Company wrote to a senior executive at Wabtec’s headquarters “[Y]ou and l
both agreed that our practice of not targeting each other’s personnel is a prudent cause for both
companies As you so accurately put it, ‘we compete in the market.”’ Although the no-poach
agreement was between Wabtec and Knorr’s U.S. passenger rail subsidiary, it was well-known to
senior executives at the parent companies including top Knorr executives in Gerrnany who were
included in key communications about the no-poach agreement In iiirtherance of their
agreement, Wabtec and Knorr Brake Company informed their outside recruiters not to solicit
employees from the other company.

21. In some instances Wabtec and Knorr Brake Company’s no-poach agreement
foreclosed the consideration of an unsolicited applicant employed by Wabtec or Knorr Brake

Company without prior approval of the other firm. For example, in a 2010 internal

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cornmunication, a senior executive at Knorr Brake Company stated that he would not even
consider a Wabtec candidate who applied to K_norr Brake Company without the permission of his
counterpart at Wabtec.

22. Wabtec and Knorr’s no-poach agreements also reached the companies’ U.S.
freight rail businesses ln July 2012, for example, a senior executive at New York Air Brake
Corporation informed a human resources manager that he could not consider a Wabtec employee
for a job opening due to the no-poach agreement between Wabtec and Knorr‘

23. Wabtec’s and Knorr’s senior executives actively policed potential breaches of
their companies’ no-poach agreements and directly communicated with one another to ensure
adherence to the agreements For example, in February 2016, a member of Knorr’s executive
board complained directly to an executive officer at Wabtec regarding an external recruiter who
allegedly solicited a Knorr Brake Company employee for an opening at Wabtec. The Wabtec
executive investigated the matter internally and reported back to Knorr that Wabtec’s outside
recruiter was responsible for the contact and that he had instructed the recruiter to terminate his
activities with the candidate and refrain from soliciting Knorr employees going forward due to
the existing no-poach agreement between the companies
B. Knorr - Faivelev Agreement

24. Beginning no later than 2011, senior executives at Knorr Brake Company and
Faiveley Transport North Arnerica reached an express no-poach agreement that involved
promises and commitments to contact one another before pursuing an employee of the other
company. In October 2011, a senior executive at Knorr Brake Company explained in an e-mail
to a high-level executive at Knorr-Bremse AG that he had a discussion with an executive at

Faiveley’s U.S. subsidiary that “resulted in an agreement between us that we do not poach each

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other’s employees We agreed to talk if there was one trying to get ajob[-]” Executives at Knorr
Brake Company and Faiveley’s U.S. subsidiary actively managed the agreement with each other
through direct communications

25. ln or about 2012, a senior executive at Knorr Brake Company discussed the
companies’ no-poach agreement with an executive at Faiveley Transport North Arnerica. This
discussion took place at a trade show in Berlin, Germany. Subsequently, the executives enforced
the no-poach agreement with each other through direct communications This no-poach
agreement was known to other senior executives at the companies who directly communicated
with one another to ensure adherence to the agreement For example, in October 2012,
executives at Faiveley Transport North America stated in an internal communication that they
were required to contact Knorr Brake Company before hiring a U.S. train brake engineer.

26. The companies continued their no-poach agreement until at least 2015. After
Wabtec announced its proposed acquisition of Faiveley in July 2015, a high-level Knorr
executive directed the company’s recruiters in the United States and other jurisdictions to raid
Faiveley for high-potential employees
C. Wabtec - Faivelev Agreen_ie_nt

2?. Beginning no later than January 2014, senior executives at Wabtec Passenger
Transit and Faiveley Transpor't North America entered into a rio-poach agreement in which the
companies agreed not to hire each other’s employees without prior notification to and approval
from the other company.

28. Wabtec Passenger 'I`ransit and Faiveley Transport North America executives
actively managed and enforced their agreement with each other through direct communications

For example, in January 2014, Wabtec Passenger Transit executives refused to engage in hiring

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discussions with a U.S.-based project manager at Faiveley Transport North America without first
getting permission from Faiveley Transport North America executives In an internal e-mail to
his colleagues a Wabtec Passenger Transit executive explained that the candidate “is a good
guy, but l don’t want to violate my own agreement with [Faiveley Transport North America].”
Only after receiving permission from Faiveley Transport North America did Wabtec Passenger
Transit hire the project manager. One month later, a Wabtec Passenger Transit senior executive
informed his staff that hiring Faiveley Transport North America’s employees was “off the table”
due to the agreement with Faiveley Transport North Arnerica not to engage in hiring discussions
with each other’s employees without the other’s prior approval

29. In luly 2015, Wabtec and Faiveley publicly announced their intent to merge.
Wabtec closed its acquisition of Faiveley on November 30, 2016. Presently, Faiveley is a
wholly-owned subsidiary of Wabtec.

VI. VIOLATION ALLEGED

30. Defendants are direct competitors in certain labor markets for skilled rail industry
employees including project managers engineers sales executives and corporate officers
Defendants entered into anticompetitive no-poach agreements that reduced competition in the
labor markets in which they compete and, in doing so, disrupted the typical bargaining and
negotiation between employees and employers that ordinarily would take place in these labor
markets

31. Defendants’ no-poach agreements were facially anticompetitive because they
eliminated a significant form of competition to attract skilled labor in the U.S. rail industry.

These agreements denied employees access to better job opportunities restricted their mobility,

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and deprived them of competitively significant information that they could have used to

negotiate for better terms of employment

32.

Accordingly, Defendants’ no-poach agreements constitute unreasonable restraints

of trade that are per se unlawliil under Section 1 of the Sherman Act, 15 U.S.C. § 1.

33.

VII. REQUEST FOR RELIEF

The United States requests that this Court:

(a)

Cb)

(C)

(d)

(e)

adjudge and decree that Defendants’ no-poach agreements constitute per
se illegal restraints of trade and interstate commerce in violation of
Section 1 of the Sherman Act;

enjoin and restrain Defendants from enforcing or adhering to existing no-
poach agreements that unreasonably restrict competition for employees
permanently enjoin and restrain each Defendant from establishing a no-
poach agreement except as prescribed by the Court;

award the United States such other relief as the Court may deem just and
proper to redress and prevent recurrence of the alleged violations and to
dissipate the anticompetitive effects of the illegal no-poach agreements
entered into by Defendants and

award the United States the costs of this action.

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Dated: April 3, 2018

Respectfully submitted,

FOR PLAINTIFF UNITED STATES OF AMERICA

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